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                           UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG                 *   CIVIL ACTION
“DEEPWATER HORIZON” IN THE                      *   NO. 2:10-MDL-02179
GULF OF MEXICO, ON APRIL 20, 2010               *
                                                *   SECTION “J”
This Document Relates to: 10-888                *
                                                *   JUDGE BARBIER
                                                *
                                                *   MAGISTRATE SHUSHAN
**********************************

                                      ORDER

     Considering the foregoing Motion to Withdraw as Counsel of Record for


Aliette Accelus (47596),            Martin Nwubah (49304),


Calistene Lajeune (49064),          Maryse Noel (452857),


Fequiere Cadet (52508),             Micanor Camille (48160),


Fritzner Joseph (48764),            Patrique Charles (48648),


Guerilus Delvoix (48667),           Pierre Beneche (48533),


Howard Montgomery (49125),          Pierre Charles (48635),


Rafael Vado (53006),                Quennell Foster (52687),


Jean Clobert Joseph (48774),        Shah Nawaz Malik (49797),


Jeanmarie Desir (48683),            Salomon St. Sauveur (49526),


Jodice Joseph (48602),              Tejan Jallow (48804),
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John David Lyall (52801),         Vilcene Nicolas (49178),


Joseph Parks (49521),             Yves Toussaint (49733),


Lemoine Saintal (49727),          Julien Dufrene (48178),


Louis R. Cutrer (48172),          Mark Mid City Service, Inc. (55285),


Marie Dely (48678),               Bettsie Lafaille (52760),


Marie Esther Cadet (48198),       Gustavo Erazo (52588),


Warren Taylor (52986),            Jannyn Erazo (52598),


Aaron Washington (58143),         George Green (52680),


John Williams (49765),            Mohammed E. Mohammed (52838),


Betty Pierre (52680), and         Bibekanada Bepary (60698).


            IT IS ORDERED that Martins I. Imudia, Martins I Imudia &

Associates, Terrence J. Lestelle, Andrea S. Lestelle, Jeffery B. Struckhoff, and

Richard M. Morgain, Lestelle & Lestelle, A Professional Law Corporation, are

hereby withdrawn as counsel of record for


Aliette Accelus (47596),          Martin Nwubah (49304),


Calistene Lajeune (49064),        Maryse Noel (452857),


Fequiere Cadet (52508),           Micanor Camille (48160),
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Fritzner Joseph (48764),       Patrique Charles (48648),


Guerilus Delvoix (48667),      Pierre Beneche (48533),


Howard Montgomery (49125),     Pierre Charles (48635),


Rafael Vado (53006),           Quennell Foster (52687),


Jean Clobert Joseph (48774),   Shah Nawaz Malik (49797),


Jeanmarie Desir (48683),       Salomon St. Sauveur (49526),


Jodice Joseph (48602),         Tejan Jallow (48804),


John David Lyall (52801),      Vilcene Nicolas (49178),


Joseph Parks (49521),          Yves Toussaint (49733),


Lemoine Saintal (49727),       Julien Dufrene (48178),


Louis R. Cutrer (48172),       Mark Mid City Service, Inc. (55285),


Marie Dely (48678),            Bettsie Lafaille (52760),


Marie Esther Cadet (48198),    Gustavo Erazo (52588),


Warren Taylor (52986),         Jannyn Erazo (52598),


Aaron Washington (58143),      George Green (52680),


John Williams (49765),         Mohammed E. Mohammed (52838),


Betty Pierre (52680), and      Bibekanada Bepary (60698).
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New Orleans, Louisiana, this   ____ day of _______ _, 2012.




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                                          U.S. DISTRICT COURT JUDGE
